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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT, LLC and
 ELLIOTT BROIDY,
                                                            Case No. 19-cv-00150-DLF
                                        Plaintiffs,

                           v.

 NICOLAS D. MUZIN, JOSEPH ALLAHAM,
 GREGORY HOWARD, STONINGTON
 STRATEGIES, LLC,

                                        Defendants.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s oral ruling on June 15, 2022, and June 15, 2022 Minute Order,

Plaintiffs Broidy Capital Management, LLC and Elliott Broidy (together, “Plaintiffs”) and

Defendants Nicolas D. Muzin, Stonington Strategies LLC, Gregory Howard, and Joseph Allaham

(together, “Defendants”), by counsel, hereby submit this Joint Status Report regarding their

progress in discovery.

Plaintiffs’ Position:

       1.      On June 3, 2022, Plaintiffs made an initial production of documents in response to

Defendants’ document requests. Plaintiffs received Defendants’ first productions of documents

today, July 15, 2022. Defendants assert that they will make rolling productions in advance of the

August 19, 2022 substantial completion deadline, but also make clear that they will not produce

documents that are subject to the stay entered by the Court of Appeals for the D.C. Circuit while

Qatar’s appeal is pending. As a result, Defendants’ document production cannot be substantially

complete prior to the resolution of the appeal, as the documents subject to the stay are at the heart

of this case. Yesterday, July 14, 2022, the D.C. Circuit entered a briefing schedule in response to
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Plaintiffs’ motion to expedite the appeal. The appeal will be fully briefed by September 26, 2022,

and the court directed that the case be calendared for oral argument “on the first appropriate date

following the completion of briefing.” Order, Case No. 22-7082, Doc. #1954969 (July 14, 2022)

at 2.

        2.     On June 22, 2022, Plaintiffs received revised document requests and interrogatories

from Defendants.     While Defendants withdrew or revised many requests, even with these

revisions, Defendants have still propounded 135 document requests. Plaintiffs are working

through the revised requests and analyzing whether they are consistent with the Court’s June 15,

2022 order. Plaintiffs will respond to the requests, and review and produce responsive documents

that are encompassed within the Court’s order. Given the scope and volume of the requests,

Plaintiffs do not currently have an anticipated date for their next production, but Plaintiffs intend

to make their second production as soon as possible. Plaintiffs will also amend their interrogatory

responses to the extent the revised interrogatories are within the scope of the Court’s order.

        3.     Counsel for Plaintiffs also represents third-parties Robin Rosenzweig, Joel

Mowbray, Circinus, LLC, and Ankura Consulting Group, LLC in connection with the document

subpoenas served by Defendants, revised versions of which were served on June 29, 2022. Each

of these third-parties served revised responses and objections to the new subpoena requests on July

13, 2022. Ms. Rosenzweig, Mr. Mowbray, and Circinus have all agreed to search for and produce

responsive documents that are encompassed within the Court’s June 15, 2022 order. Ankura has

objected to the revised subpoena because it served as a non-testifying consultant and provider of

e-discovery and litigation support services to Plaintiffs from March 2018 through at least May

2020, including in connection with this case and other related cases. The documents sought by




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Muzin and Stonington’s subpoena are accordingly protected by Rule 26(b)(4)(D) and/or

26(b)(3)(A) of the Federal Rules of Civil Procedure.1

         4.       Plaintiffs also have served document subpoenas on third-parties. Numerous third-

parties have objected to these subpoenas, and at least 16 of these third-parties appear to be asserting

the same privileges and immunities that are at issue in Qatar’s pending appeal before the D.C.

Circuit.

Defendants’ Position:

         5.       To date, Defendants have provided productions totaling 123 documents and 842

pages.       These initial productions include Defendant communications with journalists and

Defendants’ non-privileged FARA registration materials. Defendants will continue to produce

materials that are not subject to the stay entered by the D.C. Circuit regarding this Court’s ruling

concerning Qatar’s privileges and immunities, on a rolling basis to conclude by the Court’s August

19, 2022 deadline for substantial completion of document discovery. Defendants do not intend to

update their interrogatory responses, as Defendants’ position is that the only pending responses

are subject to objections that are encompassed by the Order currently on appeal.

         6.       In accordance with the Court’s June 15, 2022 oral ruling and June 15, 2022 Minute

Order, Defendants served revised discovery requests on Plaintiffs, by counsel, on June 22, 2022.




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          Plaintiffs’ counsel also represents third-party David Reaboi in connection with the
subpoena served by Muzin and Stonington, and the motion to compel they filed in the United
States District Court for the Southern District of Florida. Mr. Reaboi has moved to transfer that
motion to this Court, given the overlap between the requests to Mr. Reaboi and the subpoenas that
were subject to the Court’s June 15 order, and the Court’s extensive familiarity with these
discovery issues. See Motion to Transfer and Motion to Stay, No. 1:22-mc-20786-BB, ECF No.
10, (S.D. Fla. Mar. 28, 2022). Defendants have opposed that motion, despite the fact that Mr.
Reaboi not only consents to the transfer of the motion, he has requested the transfer. See Fed. R.
Civ. P. 45(f).

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In total, Defendants withdrew eighty-five (85) Interrogatory, Document, and Admission requests,

and narrowed the scope of dozens more.

       7.      On June 3, 2022, prior to this Court’s oral ruling on June 15, 2022, Plaintiffs made

a single production of 215 total documents and 304 pages that have little relevance to the case.

That production contains: 139 emails concerning public website links or automatically generated

Google security alerts; twenty-six (26) publicly available Google news alerts for searches of the

names “Elliott Broidy,” “Robin Rosenzweig,” “Robin Broidy,” and “Jho Low”; twenty-one (21)

email communications in early March 2018 concerning press inquiries regarding Qatar or the

alleged hacking; seventeen (17) emails concerning the Wall Street Journal’s investigation of

1MDB in late February 2018; and a few additional documents of no apparent relevance. The

production lacks, among other things, any materials regarding Plaintiffs’ alleged trade secrets,

alleged damages, hacked materials, investigation of the alleged hacking, or activities reported on

by the press that allegedly “create[d] a false and injurious image” of Plaintiffs, First Am. Compl.

¶ 33, ECF No. 18-2.

       8.      To date, Plaintiffs have not made any additional productions, amended their

discovery responses, or produced any of the material that the Court compelled as relevant and

responsive in its June 15, 2022 oral ruling. Defendants have requested that Plaintiffs provide an

anticipated date for future productions, and Plaintiffs have refused to provide even that

information.

       9.      Further, in accordance with the Court’s June 15, 2022 oral ruling and June 15, 2022

Minute Order, Defendants served revised discovery requests on the third-party subpoena

respondents covered by the Court’s ruling on June 29, 2022. In total, Defendants revised nine

third-party subpoenas, withdrew 128 subpoena requests, and narrowed the scope of many others.



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To date, no third-party subpoena respondents subject to the Court’s June 15, 2022 oral ruling have

produced documents. Specifically:

           a. The Stonington Defendants and Defendant Howard each served revised subpoena

requests on counsel for Circinus LLC, and collectively withdrew twenty-eight (28) of seventy (70)

requests across both subpoenas. On July 13, 2022, Circinus served Responses and Objections on

counsel for the Stonington Defendants and counsel for Defendant Howard. In response to every

Request, Circinus asserted nonspecific objections concerning burden, relevance, privilege, or

proportionality. Circinus also stated, in response to every request, that it will conduct a reasonable

search and produce responsive materials that also (1) concern the hacking, (2) concern conduct

“referenced in the articles cited in the First Amended Complaint that Plaintiffs contend were false

or misleading,” or (3) “are otherwise encompassed within the scope of the Court’s discovery

order.” Circinus has not produced any of the material that the Court compelled as relevant and

responsive in its June 15, 2022 oral ruling, and Circinus’s counsel have not provided a date on

which they anticipate making a production.

           b. The Stonington Defendants served revised subpoena requests to Joel Mowbray on

counsel and withdrew forty-four (44) of eighty-two (82) requests. On June 13, 2022, Mowbray

served Responses and Objections on counsel for the Stonington Defendants. In response to every

Request, Mowbray offered nonspecific objections concerning burden, relevance, privilege, or

proportionality. Mowbray pledged responses for thirty-one (31) Requests. For twenty-four (24)

Requests, Mowbray qualifies any eventual production, stating that he will only produce responsive

materials that (1) concern the hacking, (2) concern conduct “referenced in the articles cited in the

First Amended Complaint that Plaintiffs contend were false or misleading,” or (3) “are otherwise

encompassed within the scope of the Court’s discovery order.” Mowbray states that he still “will



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not produce” materials in response to seven (7) Requests. Mowbray has not produced any of the

material that the Court compelled as relevant and responsive in its June 15, 2022 oral ruling, and

Mowbray’s counsel have not provided a date on which they anticipate making a production.

            c. The Stonington Defendants served revised subpoena requests to Robin Rosenzweig

on counsel and withdrew twelve (12) of twenty-six (26) requests. On June 13, 2022, Rosenzweig

served Responses and Objections on counsel for the Stonington Defendants. In response to every

request, Rosenzweig offered nonspecific objections concerning burden, relevance, privilege, or

proportionality. Rosenzweig pledged responses to eleven (11) Requests. But for eight (8) of these

Requests, Rosenzweig states that she will only produce responsive materials that also (1) concern

the hacking, (2) concern conduct “referenced in the articles cited in the First Amended Complaint

that Plaintiffs contend were false or misleading,” or (3) “are otherwise encompassed within the

scope of the Court’s discovery order.” Rosenzweig still refuses to provide responses to three (3)

Requests. Rosenzweig has not produced any of the material that the Court compelled as relevant

and responsive in its June 15, 2022 oral ruling, and Rosenzweig’s counsel have not provided a date

on which they anticipate making a production.

            d. The Stonington Defendants served revised subpoena requests to Steve Rabinowitz

and Bluelight Strategies on counsel and withdrew fourteen (14) of thirty-four (34) requests across

the two subpoenas. To date, neither Rabinowitz nor Bluelight have produced any of the material

that the Court compelled as relevant and responsive in its June 15, 2022 oral ruling, and their

counsel have not provided any materials in response to the revised subpoena requests.2



       2
        The Stonington Defendants served their revised requests via email on June 29, 2022. At
4:45pm on the day of this filing, counsel for Rabinowitz and Bluelight responded to Stonington’s
service email, stating that counsel’s father had passed away and that responses would be
forthcoming next week.

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             e. The Stonington Defendants served revised subpoena requests to Richard Miniter

and American Media Institute on counsel and withdrew sixteen (16) of thirty-six (36) requests

across the two subpoenas. Miniter provided an initial production of 267 documents on May 19,

2022, prior to the Court’s June 15, 2022 oral ruling. Since then, neither Miniter nor AMI have

produced any of the material that the Court compelled as relevant and responsive in its June 15,

2022 oral ruling. Miniter and AMI served responses and objections to the revised subpoena on

July 13, 2022. Subject to specific objections, Miniter agreed to search for and produce documents

responsive to the revised requests but has not provided an anticipated timeline. AMI contends that

it does not possess any documents because its business has not been operational since 2018 and its

files were destroyed.

             f. The Stonington Defendants also issued a revised subpoena to Adlumin, Inc. (who

is not represented by counsel), which was served on Adlumin’s registered agent on July 30, 2022,

and which withdrew fourteen (14) of forty-one (41) subpoena requests. The subpoena response

deadline was July 14, 2022, and, to date, the Stonington Defendants have not received a response

to or communication regarding the Adlumin subpoena.

       10.      Consistent with—though not required by—this Court’s order, the Stonington

Defendants also served revised third-party subpoena requests on three additional subpoena

respondents who had previously been in contact with counsel for the Stonington Defendants and

against whom no motion to compel has yet been filed. The Stonington Defendants withdrew an

additional thirty-three (33) subpoena requests across those three subpoenas. Ankura Consulting

(which is represented by counsel for Plaintiffs) has refused to produce documents in response to

twenty-three (23) out of twenty-eight (28) revised requests on the basis that it served as a non-

testifying expert for Plaintiffs. It further claims that it has no documents responsive to the



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remaining five requests. The remaining two subpoena respondents have either committed to

producing responsive documents by mid-July or are in discussions with counsel for the Stonington

Defendants regarding production.3

       11.     Defendant Howard also served revised subpoena requests to the counsel of George

Nader, who has not, to date, been the subject of any discovery motion. Defendant Howard

withdrew five (5) of the twenty-three (23) requests originally served on April 14, 2022, and

narrowed the scope of an additional ten (10) requests. To date, Mr. Nader has not produced

anything in response to the original or revised subpoenas. However, counsel for Defendant

Howard and Nader have been discussing whether and to what extent Nader intends to comply with

the revised subpoena.



                                    [Intentionally left blank]




       3
          The Stonington Defendants have also moved to compel two additional subpoena
respondents, one in U.S. District Court for the Central District of California and one in the U.S.
District Court for the Southern District of Florida. An Order granting the Stonington Defendants’
motion to compel against Delon Cheng was entered in the California proceedings on May 5, 2022.
See ECF No. 26, Broidy Capital Management, LLC, et al. v. Muzin, et al., No. 2:22-mc-79-AB-
AS (C.D. Cal.). The motion to compel and an Order to Show Cause entered against David Reaboi
remain pending in the Florida proceedings. See Order to Show Cause, ECF No. 7, Stonington
Strategies LLC, et al. v. Reaboi, No. 1:22-mc-20786-BB (S.D. Fla. Mar. 22, 2022).

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Dated: July 15, 2022

Respectfully submitted,

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